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                         United States District Court
                        Middle District of Pennsylvania
                            Harrisburg Division

The PUBLIC INTEREST LEGAL
FOUNDATION,

                                        Plaintiff,
  v.

KATHY BOOCKVAR, in her official
capacity as Acting Secretary of the                  No. 1:19-cv-00622-CCC
Commonwealth of Pennsylvania,
JONATHAN M. MARKS, in his official
capacity as Deputy Secretary for Elections
and Commissions, and the BUREAU OF
COMMISSIONS, ELECTIONS AND
LEGISLATION,

                                     Defendants.


       Plaintiff Public Interest Legal Foundation’s Brief in Opposition to
                  Defendants’ Motion for Summary Judgment
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      Plaintiff Public Interest Legal Foundation (“Foundation”) hereby opposes

Defendants’ Motion for Summary Judgment (Doc. 62).

                            Summary of the Argument

      Since 2015, the Foundation has investigated the extent of foreign

participation in Pennsylvania’s elections. (See Doc. 1 at ¶¶ 27-32.) Defendants

continuously stonewall these efforts by refusing to permit access to public list

maintenance records. Now, after two years of resource-consuming litigation under

the National Voter Registration Act of 1993 (“NVRA”), Defendants claim they

provided all non-exempt records and ask for judgment as a matter of law.

Defendants’ Motion must fail because they have not demonstrated that there are no

genuine issues of material fact regarding their search for and production of

responsive documents.

      Defendants’ position rests on a single conclusory affidavit that is devoid of

essential details. Even worse, Defendants have rewritten the Foundation’s requests

in order to limit production to preferred time-periods and documents. Defendants

shielded additional documents through an overbroad application of questionable

exemptions, heavy redactions, and sweeping, unsupported privileges. In short,

Defendants fail to demonstrate that they have searched for and disclosed what the

NVRA requires. Defendants’ Motion should be denied.




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                                     Argument

   I.      Defendants Are Not Entitled to Summary Judgment.

           A. Defendants Misconstrued the Foundation’s Requests.

        Defendants’ Motion should fail solely because Defendants did not search for

the records requested. Defendants’ statement of facts shows that they confined the

Foundation’s first and second requests to records “relating to comparison of the

SURE database with the PennDOT driver license database”— the so-called

“glitch” investigation, (Doc. 63 ¶¶ 2, 7-8)—and records related to the earlier Initial

Statewide Analysis, (see Doc. 64-1 ¶ 33; Doc. 66 ¶¶ 55-61). Fatal to Defendants’

Motion, the Foundation’s request also included much more.

        For example, the first request sought “[d]ocuments regarding all registrants

who were identified as potentially not satisfying the citizenship requirements for

registration from any official information source … since January 1, 2006.”

(Doc. 1-9 ¶ 1 (emphasis added).) Paragraph 1(a) of the first request provides that

“[t]his request includes all voter records that were referenced in recent news media

reports regarding individuals improperly exposed to registration prompts due to a

‘glitch’ in PennDOT’s Motor Voter compliance system.” (Doc. 1-9 ¶ 1(a)

(emphasis added).) Furthermore, the Foundation’s correspondence specifies that

documents sought in “Request 1(a)”—as opposed to the entirety of Request 1—

“include results (full or interim) from an aforementioned official ‘review’ of voter


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data compared against PennDOT’s database of customers….” (Doc. 1-10 bullet

point one (emphasis added).) “[T]he word ‘including’ clearly connotes

enlargement….” United States v. Beneficial Corp., 492 F. Supp. 682, 684 (D.N.J.

1980); see also Pennsylvania v. Navient Corp, 967 F.3d 273, 285 (3d Cir. 2020).

       Defendants’ single relevant affidavit 1—the Marks Affidavit—does not

demonstrate that Defendants searched for the requested records. In fact, it omits

any search for these records. Summary judgment is not available if Defendants did

not even look for the requested records.

       Defendants’ treatment of the Foundation’s second request was also deficient.

Defendants artificially limited the search and production to records provided to

Defendants by county officials in late 2017 in connection with the Initial Statewide

Analysis. (See Doc. 64-1 ¶ 33; Doc. 66 ¶¶ 55-61.) By law, Defendants have

“instant access to a commission’s registration records maintained on the [SURE]

system.” 25 Pa.C.S. § 1222(c)(5). Yet Defendants did not at any time conduct its

own search for responsive records maintained in the Systematic Uniform Registry

of Electors (“SURE”) system or any other source.

       It is also unclear whether all counties with records provided them to

Defendants. Defendants state that they “received records from Allegheny,



1
 Former Secretary Torres’ affidavit was filed in a 2017 action under Pennsylvania’s Right-to-
Know Law. (Doc. 64-3.)

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Dauphin, and Philadelphia counties.” (Doc. 64-1 at 9.) This stands in stark contrast

to Defendants’ testimony to lawmakers in 2017, which claimed the 1,160 records

reviewed in the Initial Statewide Analysis “were from 46 counties.” (Doc. 66-2 at

1.) Defendants never established that the universe of records received from county

officials in 2017 satisfies the Foundation’s request. The Foundation asked to

inspect “[d]ocuments regarding all registrants who were identified as potentially

not satisfying the citizenship requirements for registration….” (Doc. 1-9 ¶ 1.)

Defendants, in contrast, asked the counties for something more limited—records

“to verify the reason or reasons a voter record was cancelled” under the status of

“CANCEL – NOT A CITIZEN.” Exhibit A at 2. Therefore, the Foundation may

not have received certain records. Defendants’ confinement of the requests and

failure to search the SURE system renders the search and production inadequate.

      The list of 1,160 persons who requested removal from the voter rolls due to

noncitizenship (Doc. 66-10) is deficient because Defendants applied redactions

beyond what this Court (and the NVRA) authorize and to an extent that the

document cannot effectively be used to assess the list maintenance decisions it

reflects. Defendants also did not establish that it provided registrant-specific

records for each person on the list, including voting histories.

      Defendants’ response to the Foundation’s third request is deficient because

Defendants limited their search to between October 2015 and March 2019. (Doc.


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64-1 ¶ 40.) The records sought date to 2006. (Doc. 1-9 ¶ 3.) Defendants’ limited

search is based on the untenable position that the NVRA does not require

production of records more than two years old. (See Doc. 64 at 17 n.9.) “[I]f a state

chooses to retain a record beyond two years, the NVRA requires the state to

produce that record.” Judicial Watch, Inc. v. Lamone, 399 F. Supp. 3d 425, 441 (D.

Md. 2019); see also Ill. Conservative Union v. Illinois, No. 20 C 5542, 2021 U.S.

Dist. LEXIS 102543, at *20 n.3 (N.D. Ill. June 1, 2021). Because Defendants

maintain records responsive to request three (Doc. 66 ¶ 46; Doc. 64-1 ¶ 37), they

must produce them.

      There are plainly genuine disputes concerning Defendants’ search for and

production of records.

         B. Defendants’ Assertions of Privilege Are Invalid and Unsupported.

      Because they are records relating to list maintenance, communications

concerning the Noncitizen Matching Analysis must be disclosed to the Foundation

under the NVRA. Defendants claim a blanket privilege over these records. Yet

Defendants never factually establish the validity of any privilege and certainly

never on a document-by-document basis (see Doc. 63 ¶ 5 (stating, in conclusory

fashion, that all non-exempt documents were produced)). United States v. Rockwell

Int’l, 897 F.2d 1255, 1265 (3d Cir. 1990) (“claims of attorney-client privilege must

be asserted document by document, rather than as a single, blanket assertion”).


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      Attorney-client privilege is “governed by the principles of common law as

they may be interpreted by the courts of the United States in the light of reason and

experience.” FED. R. EVID. 501, quoted in Wachtel v. Health Net, Inc., 482 F.2d

225, 230 (3d Cir. 2007). In this federal-question case, federal common law applies.

See United States v. Liebman, 742 F.2d 807, 809 (3d Cir. 1984). While federal

courts have flexibility on privilege rulings, Trammel v. United States, 445 U.S. 40,

47 (1980), “these exceptions to the demand for every man’s evidence are not

lightly created nor expansively construed, for they are in derogation of the search

for truth,” United States v. Nixon, 418 U.S. 683, 710 (1974).

      Attorney-client privilege applies when a client consults with an attorney for

the purpose of obtaining legal advice. Swidler & Berlin v. United States, 524 U.S.

399, 403 (1998); Gillard v. AIG Ins. Co., 15 A.3d 44, 59 (Pa. 2011). “Confidential

disclosures by a client to an attorney made in order to obtain legal assistance are

privileged.” Fisher v. United States, 425 U.S. 391, 403 (1976). The Supreme Court

stressed that limitation, stating that “since the privilege has the effect of

withholding relevant information from the factfinder, it applies only where

necessary to achieve its purpose.” Id. “The privilege ‘protects only those

disclosures—necessary to obtain informed legal advice—which might not have

been made absent the privilege.’” Westinghouse Elec. Corp. v. Republic of Phil.,

951 F.2d 1414, 1423-24 (3d Cir. 1991) (quoting Fisher, 425 U.S. at 403)


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(emphasis in Westinghouse). The Third Circuit’s emphasis of “only” highlights the

fatal flaw with Defendants’ position.

       “The lawyer-client privilege rests on the need for the advocate and

counselor to know all that relates to the client’s reasons for seeking representation

if the professional mission is to be carried out.” Trammel, 445 U.S. at 51. All of the

situations in which the attorney-client privilege attaches “are consistent with the

purpose of encouraging clients to speak fully with their lawyers without concern

that what they say to the lawyer will be disclosed. Where this purpose ends, so too

does the protection of the privilege.” Wachtel, 482 F.2d at 231.

      The Foundation does not seek records of Defendants disclosing opinions and

advice from lawyers about legal rights or obligations. Instead, the Foundation

seeks only list maintenance records, which have nothing to do with encouraging

clients to confer with their attorneys, and accordingly are beyond the protection of

the attorney-client privilege.

      Because Defendants provided neither a privilege log nor a detailed affidavit

addressing each withheld record, genuine issues of fact exist concerning the

contents of the allegedly privileged records. For example, do withheld records

concern the solicitation of legal advice or do they simply concern the methodology

or results of list maintenance activities? Can any exempt information be redacted?




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Neither the Foundation nor this Court can know because Defendants have not

provided those details.

      Defendants also blanket an entire category of list maintenance records as

attorney work-product created “in anticipation of litigation relating to the software

glitch.” (Doc. 64 at 12 n.6.) The Third Circuit considers “the nature of the

document[s] and the factual situation” to determine whether “the document[s] can

fairly be said to have been prepared or obtained because of the prospect of

litigation.” Rockwell Int’l, 897 F.2d at 1266 (citations and quotations omitted).

Fundamentally, “[t]he preparer’s anticipation of litigation must be objectively

reasonable.” Martin v. Bally’s Park Place Hotel & Casino, 983 F.2d 1252, 1260

(3d Cir.1993). “This requires proof of ‘an identifiable specific claim or impending

litigation when the materials were prepared.’” Fox v. Lackawanna Cty., No. 3:16-

CV-1511, 2018 U.S. Dist. LEXIS 145073, at *8 (M.D. Pa. Aug. 27, 2018)

(citations omitted). The “rule of thumb” is that “‘if the document would have been

created regardless of whether litigation was expected to ensue, the document is

deemed to have been created in the ordinary course of business and not in

anticipation of litigation.’” Heinzl v. Cracker Barrel Old Country Store, Inc., No.

2:14-cv-1455, 2015 U.S. Dist. LEXIS 146825, at *17 (W.D. Pa. Oct. 29, 2015)

(citations omitted). In addition, “‘the material must have been produced because of

the prospect of litigation and for no other purpose.’” United States v. Ernstoff, 183


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F.R.D. 148, 156 (D.N.J. 1998) (citations omitted). Business documents’ mere

“‘potential use in pending litigation does not turn these documents into work

product or confidential communications between client and attorney.’” Id.

(citations omitted).

      Defendants’ claim of privilege fails. First, Defendants’ proffered concern

about “litigation from any number of sources” (Doc. 64-1 ¶ 17) does not establish

“objectively reasonable” anticipation, Martin, 983 F.2d at 1260, nor “proof of an

identifiable specific claim,” Fox, 2018 U.S. Dist. LEXIS 145073, at *8 (quotations

omitted). Defendants utterly fail to state the potential cause of action or litigation

theory or demonstrate the analysis had “no other purpose” than litigation. Ernstoff,

183 F.R.D. at 156. What the facts show is that the subject records “would have

been created regardless of whether litigation was expected to ensue.” Heinzl, 2015

U.S. Dist. LEXIS 146825, at *17.

      Defendants’ investigation into noncitizen registration at PennDOT offices

stretches back to at least September 2015, more than two years before the

Foundation’s request. See Exhibit F at 3 (September 2015 entry); (Doc. 66-1 at

115:2-7). Defendants conducted the first matching analysis using PennDOT

records in the Summer of 2017, months before the Foundation’s request. See

Exhibit F at 3 (August 2017 entry); (Doc. 66 ¶¶ 47-52 (describing analysis)). More

than one month before the Foundation’s request, Defendants analyzed statewide


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SURE system records “that were cancelled for the reason ‘Not a Citizen.’” Exhibit

F at 3 (September 2017 entry); (Doc. 64-1 ¶¶ 9-10; Doc. 66 ¶¶ 55-61). Why did

that analysis happen? Not anticipated litigation. Rather, Defendants “wanted to

understand both the scope of the issue and, and also the potential causes of it, so

that any additional enhancements that [it] made would be effective.” (Doc. 66-1 at

115:12-21.) The public has a right to reach their own understanding of the

problem.

      Shortly thereafter, Defendants undertook yet another analysis (Doc. 66 ¶¶

62-74)—the allegedly privileged analysis. This analysis was also not caused by

anticipated litigation. Rather, it was the next step and final stage of a multi-stage

investigation into a decades-old failure in conducting ordinary list maintenance.

That investigation and remedial effort began years before the Foundation was

aware of the problem. The purpose of the analysis was stated clearly: “to

investigate and address the concern that some ineligible individuals registered to

vote[.]” (Doc. 66-4 at 1.) Defendants touted that the “goal in this process was to

protect the integrity of elections in Pennsylvania.” (Id.) Defendants even revealed

that it “knew that it was imperative to address the problem” “when [it] learned that

ineligible residents may have registered to vote….” (Id. (emphasis added).)

Defendants knew of the problem as early as 2015. (Doc. 66-1 at 115:2-7.) It strains

credulity to suggest that this latest analysis (and records of it)—had “no other


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purpose” than litigation readiness. Ernstoff, 183 F.R.D. at 156. Defendants’

objections are simply a post-hoc rationalization aimed at concealing list

maintenance records.

      The work-product privilege protects documents, not facts. Heinzl, 2015 U.S.

Dist. LEXIS 146825, at *13-14. It is circular and nonsensical for Defendants to

claim that responsive records were created because, and only because, Defendants

allegedly feared litigation aimed at obtaining those same records. There is zero

record evidence to support Defendants’ belief that litigation seeking any other type

of relief was possible. The last thing a reasonable official would do if she feared

public-records litigation is create more public records—unless, of course, the

creation of those records had an entirely different purpose—such as remedying a

longstanding list maintenance issue—which is plainly the case with Defendants’

latest analysis. (Doc. 66-4.)

      “[T]he factual situation in th[is] particular case” demonstrates that the

allegedly privileged analysis was conducted “in the ordinary course of business”

Rockwell Int’l, 897 F.2d at 1265-66, and would have proceeded as planned

“regardless” of whether the Foundation had asked to inspect records. Heinzl, 2015

U.S. Dist. LEXIS 146825, at *17. Because Defendants’ filings lack sufficient

details, at minimum a genuine issue of fact exists concerning the purpose of the

Noncitizen Matching Analysis (Doc. 66 ¶¶ 61-74), and the contents of each related


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record. The Foundation made every effort to probe the details of the analysis

during discovery but was unable to gather those facts precisely because Defendants

repeatedly refused to answer questions based on privilege.2 (See Doc. 67 at 18-20.)

Regardless, Defendants bear the burden of justifying asserted privileges, Holmes v.

Pension Plan of Bethlehem Steel Corp., 213 F.3d 124, 138 (3d Cir. 2000), and

removing all material doubt as to factual disputes, Fed. R. Civ. P. 56(a).

Defendants have not carried those burdens.

          C. Defendants’ Application of the DPPA Exemption is Overbroad
             and Unsupported.

       This Court held that “‘personal information ... obtained by [PennDOT] in

connection with a motor vehicle record’” is exempted from the Public Disclosure

Provision by the Driver’s Privacy Protection Act (“DPPA”). Pub. Interest Legal

Found. v. Boockvar, 431 F. Supp. 3d 553, 562 (M.D. Pa. 2019) (quoting 18 U.S.C.

§ 2721(a)). Defendants’ application of the DPPA exemption is overbroad in at least

three ways.

       First, Defendants treats any list maintenance record tangentially related to

their review of the PennDOT database as exempt. The DPPA is not so broad. It

shields only “personal information,” which is limited to “information that identifies


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 (See, e.g., Doc. 66-1 at 141:14-17, 147:4-15, 147:16-148:3, 148:4-15, 148:16-149:1, 167:11-20,
186:22-25, 188:21-189:6, 189:7-13, 191:3-8, 191:12-17, 192:14-19, 193:10-14, 193:22-194:6,
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206:11-17, 206:19-207:14, 207:15-19, 208:19-23, 220:4-11, 239:2-10, 239:18-240:2.)

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an individual….” 18 U.S.C. § 2725(3)). If information is not “personal

information,” it is not exempt. That means, for example, communications and other

documents discussing glitch-related analysis, methodology, and results (e.g., raw

totals) are not exempt. Yet Defendants continue to withhold these records.

      Second, Defendants treat the presence of “personal information” as grounds

to withhold entire documents. The DPPA exemption applies only “to the extent

[records] include personal information obtained by the DMV in connection with a

motor vehicle record.” Boockvar, 431 F. Supp. 3d at 563 (emphasis added).

Redaction, not document-wide exemption, is thus commensurate with the scope of

this Court’s holding. Other courts have endorsed such a remedy. Project

Vote/Voting for Am., Inc. v. Long, 813 F. Supp. 2d 738, 743 (E.D. Va. 2011); True

the Vote v. Hosemann, 43 F. Supp. 3d 693, 736-39 (S.D. Miss. 2014); Project Vote,

Inc. v. Kemp, 208 F. Supp. 3d 1320, 1345 (N.D. Ga. 2016).

      Third, Defendants treat personally identifying information in non-DMV

records as “personal information” under the DPPA, thereby inappropriately

sweeping in records whose source was something other than PennDOT—such as

the SURE system or the registrants themselves. (See Doc. 67 at 16-18 (describing

records whose source was the registrant).) Defendants have not produced a single

SURE system record belonging to any of the thousands of individuals who

received letters asking that they confirm or cancel their voter registration, (see


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Doc. 64-1 at 19-20), even though those records were already in Defendants’

possession throughout the entire “glitch” analysis and well before any comparison

with PennDOT records. The DPPA exemption cannot swallow the whole of the

NVRA’s Public Disclosure Provision and prohibit the most basic information

contained in list maintenance records from being disclosed.

      Far worse for Defendants is the failure to adequately justify the DPPA

exemption on a document-by-document basis. See Maldonado v. Ramirez, 757

F.2d 48, 51 (3d Cir. 1985) (“An affidavit that is essentially conclusory and lacking

in specific facts is inadequate to satisfy the movant’s burden.”) (citations and

quotations omitted). There are clear, genuine issues of material fact concerning the

contents of the withheld records—namely, do they contain “personal information”

as defined by the DPPA or not? If not, they are not exempt. Even if they do,

redaction is the remedy. However, neither the Foundation nor this Court can make

these important determinations because Defendants have failed to provide the

necessary justification.

      Under any reasonable standard, the Marks Affidavit is inadequate to support

Defendants’ Motion. Defendants do not discuss any specific withheld records.

Instead, Defendants rely entirely on the allegation that some activities “implicate

confidential driver license information.” (Doc. 64-1 ¶ 27.) Irrespective of its truth,

this conclusory statement is inadequate to permit any meaningful review of the


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withheld records. See Maldonado, 757 F.2d at 51. The Foundation and this Court

are left to guess at the validity of the exemption with respect to specific records.

One must even guess at the number of records being withheld. On such a bare

record, summary judgment certainly is not available.

          D. Vague and Unsupported “Voter Privacy” Concerns Do Not
             Override the NVRA.

      Defendants rely on a vacated decision from the Eastern District of North

Carolina to support their expansive exemption of personally identifying

information. (Doc. 64 at 13-14.) After the Motion was filed, the Fourth Circuit

Court of Appeals vacated the district court’s dismissal of the Foundation’s

complaint alleging violations of the Public Disclosure Provision. Pub. Interest

Legal Found., Inc. v. N.C. State Bd. of Elections, No. 19-2265, 2021 U.S. App.

LEXIS 13797 (4th Cir. May 10, 2021). While Defendants inflate privacy concerns

and downplay the importance of transparency, the Fourth Circuit reaffirmed the

“balance between transparency and voter privacy” struck by Congress in the

NVRA. Id. at *18-19.

      The Fourth Circuit also required factual review of each potentially exempt

document. The Court instructed the district court to devise “a system of redaction”

that would allow the court to “review the individual documents and redactions to

ensure that specific redactions correspond with materials protected from

disclosure.” Id. at *23. If any redactions are endorsed here, they should similarly
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be permitted only to the extent they do not cannibalize the NVRA’s oversight

function. See id.

       The Fourth Circuit ultimately vacated the decision because it could not

“discern on th[e] record whether the Foundation may be entitled to disclosure of

some of the documents requested.” Id. at *2. The same applies here. Defendants’

conclusory affidavit lacks sufficient detail to determine both the validity of the

claimed exemptions and the potential that truly exempt information can be simply

redacted. Rather than justify its own actions, Defendants call into question the

Foundation’s character and intentions with the data sought, relying on accusations

from the Foundation’s ideological opponents. As an initial matter, impugning the

character of a requestor of public records has no place or relevance in the law, and

certainly not in this Court. Neither the government nor interest groups may decide

who is eligible to inspect list maintenance records based on the requestor’s

perceived ideological viewpoint. That is unconstitutional. Perry v. Sindermann,

408 U.S. 593, 597 (1972). Congress did not attach ideological tests to the NVRA’s

public inspection rights. Rather, the right to inspect list maintenance records

belongs to all members of the public, regardless of political or ideological

affiliation.

       Second, Defendants inaccurately characterize the Foundation’s history and

omit the central fact that it was state election officials in the Commonwealth of


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Virginia that removed registrants from the rolls and labeled them “Declared Non-

Citizens.” Had the Foundation not obtained and publicized Virginia’s documents,

nobody would have learned that the Commonwealth was removing citizens from

the rolls as noncitizens.

       Nevertheless, the Fourth Circuit addressed Defendants’ concerns regarding

the risk of disclosing information related to citizenship status. “This risk, however,

does not render the requested documents affiliated with potential noncitizens

immune from disclosure under the plain language of the NVRA. Instead … a

district court can order redaction of ‘uniquely sensitive information’ in otherwise

disclosable documents.” Pub. Interest Legal Found., U.S. App. LEXIS 13797, at

*22.

           E. Genuine Factual Disputes Exist Concerning the Adequacy of
              Defendants’ Search.

              i. Defendants’ Affidavit Lacks Sufficient Detail Concerning the
                 Search.

       An affidavit “lacking in specific facts is inadequate to satisfy the movant’s

burden” under Rule 56. Maldonado, 757 F.2d at 51. The Marks Affidavit contains

no specific facts concerning the search. It omits all detail concerning scope,

methods, search terms, custodians, and systems searched.3 Instead, it focuses on



3
  The lone exception is perhaps paragraph 40, which explains that the search for Request No. 3
records was in appropriately limited temporally. (Doc. 64-1 ¶ 40.)

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the number of documents produced. (Doc. 63 ¶¶ 4, 7-8.) Merely reciting the

documents that were produced tells the Court nothing about whether the search

was designed to uncover all responsive records. Defendants are not entitled to

summary judgment on such minimal, immaterial, and conclusory facts.

             ii. The Time Period of Defendants’ Search was Inappropriately
                 Truncated.

      Defendants also inappropriately limited the time period of its search. The

Foundation’s request has a start date (January 1, 2006), but no end date. Congress

requires election officials to permit inspection of “all” list maintenance records. 52

U.S.C. ¶ 20507(i). It is reasonable then to require Defendants to produce all

records in its custody or control on the day the Department filed its motion, and, if

the Foundation is successful, to supplement that production on the day this Court

enters judgment.

      The Marks Affidavit does not explain the time parameters of the search,

which should be fatal to the Motion. Regardless, it was not until February 3, 2021

that the Foundation began receiving the vast majority of discovery records—nearly

2,000 of them. See Exhibits E and H; (Doc. 64-4). Yet neither the February 3

production nor a subsequent one included list maintenance records dated later than

2018. See Plaintiff’s Response to Defendants’ Statement of Undisputed Material

Facts (“Foundation SMF Response”) ¶¶ 2, 4, 5-7. The Department also concedes



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that it limited the search to activities occurring in 2018 or earlier. Id. That is not

adequate. At minimum, there is a genuine dispute concerning the search.

          F. A Permanent Injunction is Warranted.

      The Court should enter summary judgment and a permanent prospective

injunction with an affirmative duty to disclose records similar to those requested.

Such an injunction is necessary under these circumstances to prevent impairment

of the public’s right to access list maintenance information in the future.

      “The decision to grant or deny permanent injunctive relief is an act of

equitable discretion by the district court[.]” eBay Inc. v. MercExchange, L.L.C.,

547 U.S. 388, 391 (2006). A permanent injunction is warranted where a plaintiff

demonstrates: “(1) that it has suffered an irreparable injury; (2) that remedies

available at law, such as monetary damages, are inadequate to compensate for that

injury; (3) that, considering the balance of hardships between the plaintiff and

defendant, a remedy in equity is warranted; and (4) that the public interest would

not be disserved by a permanent injunction.” Each of these elements is satisfied.

      Defendants’ steadfast refusal to comply with the NVRA caused the

Foundation to suffer irreparable harm in at least two ways. First, the Foundation

suffered an informational injury, including the loss of opportunity to obtain in a

timely fashion information vital to the current and ongoing debate surrounding

foreign participation in our elections. Second, the Foundation lost the opportunity


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to take action to urge election officials to institute remedial measures before more

elections could take place. See Bellitto v. Snipes, No. 16-cv-61474, 2018 U.S. Dist.

LEXIS 103617, at *12-13 (S.D. Fla. Mar. 30, 2018) (describing NVRA’s oversight

function). Monetary damages cannot redress these injuries. Kemp, 208 F. Supp. 3d

at 1350 (“There is no monetary remedy that can correct the public’s lack of access

to information enabling it to ensure the integrity of Georgia’s voter registration

process.”).

      The danger of injury recurring is real. At all times—including now—

Defendants maintained that the NVRA does not require disclosure of the requested

records. (See Doc. 64-1 ¶¶ 25-26 (denying request prior to litigation)); Exhibit G at

RFP No. 2 (refusing to produce responsive records in discovery); (Doc. 64-1 ¶ 44

(summary judgment affidavit stating, “The Commonwealth has no systematic

program to identify and remove non-citizens from the voting rolls and therefore no

list maintenance records to produce in response to PILF’s requests.”).) Consistent

with this, Defendants have not produced a single document in response to the

Foundation’s NVRA request. What Defendants produced was disclosed in

response to discovery requests, see, e.g., Doc. 64-1 ¶¶ 11, 33-34, and only well

after this Court denied Defendants’ motion to dismiss. Furthermore, Defendants

deliberately ignored or rewrote the Foundation’s requests to favor its litigation

position, see Foundation SMF Response ¶ 2 (describing the inappropriate


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limitation on Foundation request), and in some instances confined production to

two years, (see Doc. 64 at 17 n.9; Doc. 64-1 ¶ 40), contrary to the statute’s plain

language, see supra Section I.A. Defendants behavior underscores the need for

prospective relief. No one should be forced to file a federal action—and then hope

to reach the discovery stage—to possibly obtain some of the public record sought

years after the request was made.

      To the Foundation’s knowledge, the only other court to address this issue

found a prospective injunction appropriate due to the nature of elections. In Project

Vote/Voting for Am., Inc. v. Long, the court concluded,

      Considering the ubiquity of voting in our representative democracy,
      there is a “real and immediate threat” that members of the public, like
      the plaintiff, may again be wrongfully denied the statutory right to
      inspect and photocopy completed voter registration records with the
      voters’ SSNs redacted.

813 F. Supp. 2d 738, 744 (E.D. Va. 2011) (citations and quotations omitted).

(emphasis in original). For the reasons described, the same real threat exists here.

       “The balance of hardships does not weigh in favor of the defendants, as a

permanent injunction will simply compel the defendants to comply with their

responsibilities under the NVRA and, thus, will prevent them from denying the

public of a statutory right.” Project Vote, 813 F. Supp. 2d at 744; see also Kemp,

208 F. Supp. 3d at 1350 (considering preliminary injunction).




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      The public interest would also not be disserved by a permanent injunction.

The Kemp court prudently recognized that “‘[t]he public has an interest in seeing

that the State of Georgia complies with federal law, especially in the important

area of voter registration. Ordering the state to comply with a valid federal statute

is most assuredly in the public interest.’” Kemp, 208 F. Supp. 3d at 1351 (citations

and quotations omitted); see also Project Vote, 813 F. Supp. 2d at 745. The same is

undoubtedly true in the Commonwealth as well.

      A permanent prospective injunction will not just ensure future compliance

with the NVRA, it will, more importantly, ensure timely compliance. Timely

compliance will help eliminate the possibility that one or more federal elections

will occur without the transparency Congress intended, as occurred here. Because

all elements are satisfied, a permanent injunction should enter.

          G. Defendant Marks Is a Proper Party.

      Defendants claim Defendant Marks is entitled to summary judgment, but

also not a proper defendant. (Doc. 64 at 18.) Defendants rely on the NVRA’s

placement of obligations on “each State.” (Doc. 64 at 18.) However, that the

Secretary of the Commonwealth is a proper party here does not mean Defendant

Marks is an improper party.

      Defendant Marks oversees the Bureau of Election Security and Technology,

which “is responsible for the day-to-day activities of voter registration and election


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administration, including administration of the [SURE] database.” (Doc. 64-1 ¶ 2.)

He is also responsible for requests for SURE system records. (Doc. 66-1 at 22:2-

11.) Defendant Marks is apparently the custodian of many requested documents

and enjoining him will redress the Foundation’s injuries.

                                    Conclusion

      For these reasons, the Defendants’ Motion should be denied.


Dated: June 14, 2021.

Respectfully submitted,

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             Certificate of Compliance with Local Rule 7.8(B)(2)

      I hereby certify that the foregoing memorandum complies with Local Rule

7.8(b)(2). The brief contains 5,000 words as computed by the word-count feature

of Microsoft Office Word.



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                               Certificate of Service

      I hereby certify that on June 14, 2021, I electronically filed the foregoing

using the Court’s ECF system, which will serve notice on all parties.



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